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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


 DAVITA M. KEY,                                     )
                                                    )
         Plaintiff,                                 )
                                                    )       Civil Action Number:
 v.                                                 )
                                                    )       2:19-cv-767-ECM-SMD
 DYNAMIC SECURITY, INC.,                            )
                                                    )
         Defendant.                                 )


                      PLAINTIFF’S PROPOSED VERDICT FORM


         COMES NOW the Plaintiff and files the following proposed jury verdict

 form:

      Do you find from a preponderance of the evidence:

      1. That Davita Key engaged in protected activity?

                       Answer Yes or No            _____________

      If your answer is “No,” this ends your deliberations, and your foreperson should

sign and date the last page of this verdict form. If your answer is “Yes,” go to the next

question.



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       2. That Dynamic Security, Inc. took an adverse employment action against

Davita Key?

                   Answer Yes or No               _____________

      If your answer is “No,” this ends your deliberations, and your foreperson should

sign and date the last page of this verdict form. If your answer is “Yes,” go to the next

question.

      3. That Dynamic Security took the adverse employment action because of Davita

Key’s protected activity?

                   Answer Yes or No               _____________

      If your answer is “No,” this ends your deliberations, and your foreperson should

sign and date the last page of this verdict form. If your answer is “Yes,” go to the next

question.

      4. That Davita Key suffered damages because of the adverse employment

action?

                   Answer Yes or No               _____________

      If your answer is “No,” this ends your deliberations, and your foreperson

should sign and date the last page of this verdict form. If your answer is “Yes,”

go to the next question.



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        5. That Davita Key should be awarded damages to compensate for a net

loss of wages and benefits to the date of your verdict?

                    Answer Yes or No              _________________

                    If your answer is “Yes,”
                    in what amount?          $_________________

        6. That Davita Key should be awarded damages to compensate for

emotional pain and mental anguish?

                    Answer Yes or No              _________________

                    If your answer is “Yes,”
                    in what amount?          $_________________

        If you did not award damages in response to either Question Nos. 5 or 6,

this will end your deliberations, and your foreperson should go to the end of this

verdict form to sign and date it. If you awarded damages in response to Question

Nos. 5 or 6 (or both), go to the next question.

        7. That punitive damages should be assessed against Dynamic Security,

Inc.?

                    Answer Yes or No              _________________

                    If your answer is “Yes,”
                    in what amount?          $_________________




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SO SAY WE ALL.
                                              ___________________________
                                              Foreperson’s Signature
DATE: ___________________



      Taken from Eleventh Circuit Pattern Instructions 4.9 and 4.22

                  RESPECTFULLY SUBMITTED BY
                  THE ATTORNEYS FOR PLAINTIFF:

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                         CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing was served on all counsel of record via
the Court’s electronic filing system on March 26, 2023:

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